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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 11-62271-CIV-ZLOCH


  CENTURY SURETY COMPANY,

               Plaintiff,
                                                         O R D E R
  vs.

  JD FIVE STAR, INC., et al.,

               Defendants.
                                        /

         THIS MATTER is before the Court upon Plaintiff Century Surety

  Company’s Dispositive Motion For Summary Judgment (DE 48).                  The

  Court has carefully reviewed said Motion, the entire court file and

  is otherwise fully advised in the premises.

         The Court notes that no Response and no Statement of Material

  Facts were filed in response to the instant Motion (DE 48).             Under

  the applicable Local Rule, “failure to [respond to a motion] may be

  deemed sufficient cause for granting the motion by default.”                S.D.

  Fla. L.R. 7.1(c).       Further, under Rule 56.1(b), “Effect of Failure

  to Controvert Statement of Undisputed Facts,” “[a]ll material facts

  set forth in the movant’s statement filed and supported as required

  [by Local Rule 56.1(a)] will be deemed admitted unless controverted

  by the opposing party’s statement, provided that the Court finds

  that   the   movant’s     statement   is   supported   by   evidence   in   the

  record.”     S.D. Fla. L.R. 56.1(b).         Thus, Defendants’ failure to

  respond to the instant Motion (DE 48) is a sufficient ground for

  the Court’s granting of the Motion, assuming that Plaintiff is able

  to meet the summary judgment standard set forth by the Local Rules.
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  Yet, the Court also enters summary judgment in favor of Plaintiff

  for the following reasons.

                                  I. Background

        Plaintiff     Century   Surety   Company   (hereinafter     “Century”)

  initiated the above-styled cause with the filing of its Complaint

  For   Declaratory    Judgment    (DE   1)   (hereinafter   “Complaint”)   on

  October 20, 2011.     By its Complaint (DE 1), Century seeks entry of

  a declaratory judgment that it has no duty to defend or indemnify

  Defendants JD Five Star, Inc., Port Fivestar, Inc., Jihad Abuznaid,

  Riad Abuznaid, or Ahmad Abuznaid, with respect to lawsuits arising

  from a shooting at a gas station and convenience store owned and

  operated by JD Five Star, Inc., and/or Port Fivestar, Inc., located

  at 598 15th Street, Pompano Beach, Florida.

        Century   issued   a    Commercial    General   Liability   Insurance

  Policy, No. CCP-459886, (hereinafter “the Policy”) to Port Five

  Star, Inc., for the period between December 31, 2006, to December

  31, 2007.    During this period, Defendant JD Five Star, Inc., d/b/a

  Port Five Star (hereinafter “Port Five Star”), operated a gas

  station and convenience store, Port Five Star Mart, located at 598

  15th Street, Pompano Beach, Florida.          On October 25, 2007, during

  the Policy period, Adnan Khalil (hereinafter “Khalil”) and Sabri

  Khaleq (hereinafter “Khaleq”) were           shot during an armed robbery

  while working as clerks during the night shift at the Port Five

  Star gas station/convenience store. The estates of both Khalil and

  Khaleq filed wrongful death lawsuits against Port Five Star Food


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  Mart,   as    well    as   the   owners,     employees,   and   managers,    Jihad

  Abuznaid, Riad Abuznaid, and Ahmad Abuznaid, in the Seventeenth

  Judicial Circuit Court in and for Broward County, Florida.                   See DE

  1-2 & 1-3 (hereinafter “the State Complaints”).                       These state

  lawsuits     prompted      Plaintiff   Century’s     filing     of    the   instant

  declaratory judgment action.

                                     II. Standard

        Under Federal Rule of Civil Procedure 56(a), summary judgment

  is appropriate “if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to

  judgment as a matter of law.”              Fed. R. Civ. P. 56(a); see also

  Eberhardt v. Waters, 901 F.2d 1578, 1580 (11th Cir. 1990).                     The

  party     seeking     summary      judgment     “always   bears       the   initial

  responsibility of informing the district court of the basis for its

  motion,      and     identifying     those     portions   of    the     pleadings,

  depositions, answers to interrogatories, and admissions on file,

  together with the affidavits, if any, which it believes demonstrate

  the absence of a genuine issue of material fact.”               Celotex Corp. v.

  Catrett, 477 U.S. 317, 323 (1986)(quotation omitted).                   Indeed,

        [t]he moving party bears the initial burden to show the
        district court, by reference to materials on file, that
        there are no genuine issues of material fact that should
        be decided at trial. Only when that burden has been met
        does the burden shift to the non-moving party to
        demonstrate that there is indeed a material issue of fact
        that precludes summary judgment.

  Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991);

  Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991).                  The moving


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  party is entitled to “judgment as a matter of law” when the

  non-moving party fails to make a sufficient showing of an essential

  element of the case to which the non-moving party has the burden

  of   proof.   Celotex    Corp., 477    U.S.   at   322;   Everett v. Napper,

  833 F.2d 1507, 1510 (11th Cir. 1987).         Further, the evidence of the

  non-movant is to be believed, and all justifiable inferences              are

  to   be   drawn   in    his   favor.   Anderson v. Liberty Lobby, Inc.,

  477 U.S. 242, 255 (1986).

                                  III. Analysis

        Under   Florida    law,   “the   interpretation      of   an   insurance

  contract is a matter of law to be decided by the Court.”                 First

  Specialty Ins. Corp. v. GRS Management Associates, Inc., 2009 WL

  2524613, at *4 (S.D. Fla. Aug. 17, 2009).             Further, “‘[w]hen an

  insurance contract is not ambiguous, it must be given effect as it

  is written.’” Id. (internal citation omitted). In deciding whether

  the insurer has a duty to defend an underlying lawsuit, the court

  must consider whether “the relevant pleadings allege facts that

  fairly and potentially bring the suit within policy coverage.”

  Lawyers Title Ins. Corp. v. JDC (America) Corp., 52 F.3d 1575, 1580

  (11th Cir. 1995).       The duty to defend is broader than the duty to

  indemnify.     Thus, if the court determines there is no duty to

  defend, there can accordingly be no duty to indemnify.                  Falcon

  Trust Group, Inc. v. Travelers Cas. & Sur. Co. of America, 725 F.

  Supp. 2d 1363, 1367 (S.D. Fla. 2010).

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        Plaintiff Century argues that it has no duty to defend or

  indemnify Defendants under two separate provisions of the Policy:

  the Assault and Battery Exclusion and the Action Over Exclusion.

  The Court will consider both of those provisions in turn.

        A. Assault and Battery Exclusion

        Plaintiff Century first argues that summary judgment should be

  entered in its favor because the allegations contained in the State

  Complaints fall squarely within the Policy’s “Assault and Battery

  Exclusion.”    DE 1-1, p. 33.     This Exclusion provides that:

         “[t]his insurance does not apply to “‘bodily injury’ .
        . . arising out of or resulting from:
             a. any actual, threatened or alleged assault or
             battery;
             b. the failure of any insured or anyone else for
             whom any insured is or could be held legally liable
             to prevent or suppress any assault or battery;
             c. the failure of any insured or anyone else for
             whom any insured is or could be held legally liable
             to render or secure medical treatment necessitated
             by any assault and battery;
             d. the rendering or medical treatment by any
             insured or anyone else for whom any insured is or
             could be held legally liable that was necessitated
             by any assault or battery;
             e. The negligent:
                  i. employment;
                  ii. investigation;
                  iii. supervision;
                  iv. training;
                  v. retention;
             of a person for whom any insured is or ever was
             legally responsible and whose conduct would be
             excluded by 1. (a), (b), (c), (d) or (e) above.”

  DE 1-1, p. 33.        The “Assault and Battery Exclusion” further

  provides that Century:

        shall have no duty to defend or indemnify any claim,

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        demand, suit, action or litigation where . . . :
             a. any actual or alleged injury arises out of any
             combination of an assault or battery-related cause
             and a non-assault or battery-related cause.
             b. any actual or alleged injury arising out of a
             chain of events which includes assault or battery,
             regardless of whether the assault or battery is the
             initial precipitating event or a substantial cause
             of injury.
             c. any actual or alleged injury arises out of
             assault or battery as a concurrent cause of injury
             regardless of whether the assault or battery is the
             proximate cause of injury.

  Id.

        The   State   Complaints   contain    claims   of    negligence     under

  Florida law.        See DE 1-2 & DE 1-3.         Specifically, the State

  Complaints, which contain identical allegations, aver that Khaleq

  and Khalil were working as clerks for Defendant, JD Five Star,

  Inc., at Defendant’s store, which is in a neighborhood known for

  its history of “violent criminal acts” such as “murder, aggravated

  assault, burglary, forcible sex offenses, larceny, burglary and

  vehicular theft.”      DE 1-2, p. 6.       It is further alleged that the

  store itself “had a long history of many violent crimes occurring

  on its premises all of which Defendants . . . knew or had actual

  knowledge of or should have had such knowledge in the exercise of

  reasonable    care.”     Id.     These     Complaints     also   allege    that

  Defendants “had a duty to provide a reasonably safe and secure work

  environment for the protection” of its employees, yet breached that

  duty when Defendants forced the decedents to work “under said

  dangerous conditions” which resulted in their being shot and

  killed.     DE 1-2, pp. 5-6, 10.


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        Even    such    as    here   when   an   underlying     claim    “sounds   in

  negligence,” if it factually arises out of an assault or battery,

  it can be considered under the assault and battery exclusion of an

  insurance policy.          See First Specialty Ins. Corp. v. 633 Partners,

  Ltd., 300 Fed. App’x 777, 783 (11th Cir. 2008) (finding that a

  negligence claim arose out of an assault and thus was properly

  considered     under    that     insurance     policy’s   assault     and   battery

  exclusion); Clarendon America Ins. Co. v. Burlington Ins. Co., 677

  F. Supp. 2d 1317, 1322, n.2 (S.D. Fla. 2009) (“Even though [the

  insured’s] claims sounded in negligence, they still ‘arose out of’

  an assault and battery.”). Here, too, while the allegations of the

  State Complaints sound in negligence, they arise out of the battery

  of the two decedents, and thus, can be considered under the Assault

  and Battery Exclusion.

        Courts inside the Eleventh Circuit have applied assault and

  battery exclusions in shooting death cases, even when the terms

  “assault” and “battery” are not defined in the policy.                 In Geovera

  Specialty Ins. Co. v. USF&G Specialty Ins. Corp., the Middle

  District     of    Florida    considered      whether   an   insurance      policy’s

  assault and battery provision excluded a claim of negligence for a

  shooting death.         831 F. Supp. 2d 1306, 1310 (M.D. Fla. 2011).

  Noting first that “the lack of an operative definition or a word or

  phrase does not mean that an insurance policy is ambiguous,” that

  court looked to Florida law to define the terms “assault” and

  “battery.”        Id. at 1312.


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        The court first noted that under Florida law, the elements of

  assault include “an intentional threat by an act, coupled with an

  apparent ability to carry out the threat, that creates a fear of

  imminent violence; the required intent is to do the act, not the

  intent to do violence to the victim.”           Id. (citing Campbell v.

  State, 37 So. 3d 948 (Fla. 5th DCA 2010)).        Under the facts of that

  case, the court found that an assault did occur——“[t]he acts of

  intentionally placing a handgun on a person’s neck and pulling the

  trigger are acts which constitute an intentional threat to do

  violence, coupled with an apparent ability to do so, and which

  create a well-founded fear of such violence being done.”           Id.   The

  court also noted that a battery, or “the infliction of a harmful or

  offensive contact upon another with the intent to cause such

  contact or apprehension that such contact is imminent,” clearly

  occurred, under Florida law.         Id. at 1313 (citing Quilling v.

  Price, 894 So. 2d 1061, 1063          (Fla. 5th DCA 2005)); Paul v.

  Holbrook, 696 So. 2d 1311, 1312 (Fla. 5th DCA 1997).             The court

  therefore found that the acts causing the decedent’s death were

  within the policy exclusion for bodily injury arising from assault

  or battery, and thus the plaintiff insurance company had no duty of

  indemnification.     Id. at 1315.

        The Middle District of Florida reached a similar conclusion in

  the case of Those Certain Underwriters at Lloyd’s London v. Karma

  Korner, in which that court considered whether a claim of negligent

  security arising out of the shooting death of individual as he was


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  attempting to retrieve a cap off the top of a car.              2011 WL 1150466

  (M.D. Fla. Mar. 28, 2011).          In finding that the negligence claim

  was   excluded    under    the   assault    and     battery   provision   of   the

  insurance policy, the court followed the holding of other courts

  that “a shooting death is an ‘assault and battery’ for the purpose

  of application of an assault and battery exclusion in a liability

  policy.”     Id., at *4.         The court further held that “[u]nder a

  straightforward, common sense reading of the exclusion, there is no

  coverage under the Policy for claims ‘arising out of’ a shooting

  death such as the one at the root of this case.”                Id.

        Finally, courts have excluded claims under assault and battery

  provisions which arose from injuries sustained in the course of

  robberies.    In Perrine Food Retailers, Inc. v. Odyssey RE London

  Limited,    the   Florida    District       Court    of   Appeal   held   that   a

  negligence claim arising out of a battery which occurred during a

  robbery was properly excluded under that policy’s assault and

  battery exclusion.        721 So. 2d 402 (Fla. 3d DCA 1998).

        Here, the Court finds that the Assault and Battery Exclusion

  operates to bar the claims contained within the State Complaints.

  While these Complaints include claims of negligence, they arise out

  of the incidents of assault and battery that are set forth in the

  Complaints. See First Specialty Ins. Corp., 300 Fed. App’x at 783.

  Further, it is clear from the face of the State Complaints that

  they allege assaults and batteries under Florida law.                 See DE 1-2,

  p. 5 (“Khaleq, was working as a clerk for Defendant . . . when he


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   was accosted by an assailant during a robbery who shot him in the

   head, thereby killing him.”); DE 1-3, p. 5 (“Khalil, was working as

   a clerk for Defendant . . . when he was accosted by an assailant

   during a robbery who shot him in the head, thereby killing him.”)

   The   Court   also   finds   that   the    actual   evidence   regarding   the

   shooting deaths of the decedents establish the applicability of the

   Assault and Battery Exclusion.        See DE 47, p. 7.

          As set forth above, the Exclusion provides that the Policy

   does not cover “any actual, threatened or alleged assault or

   battery” and Plaintiff Century has no duty to defend or indemnify

   any suit where an assault or battery results in injury.           DE 1-1, p.

   33.   Thus, the Assault and Battery Exclusion clearly operates to

   exclude the shooting deaths of Khaleq and Khalil, and Plaintiff

   Century has no duty to defend or indemnify Defendants in the state

   lawsuits.

         B. Action Over Exclusion

         Plaintiff Century next argues that the allegations in the

   State Complaints fall within the Action Over Exclusion contained in

   the Policy. The Policy provides that the “bodily injury” set forth

   above includes injury sustained by the employee of the named

   insured “arising out of and in the course of: (a) employment by the

   named insured; or (b) Performing duties related to the conduct of

   the named insured’s business.”             DE 1-1, at 34.        Finally, an

   “employee” in the Policy includes “a leased worker, a temporary

   worker and a volunteer worker.”           Id. at 16.    And while the State


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   Complaints initially alleged that the decedents were “employees,”

   they   were   later   amended   to   change   the   decedents’   status   to

   “independent contractors.”      However, Plaintiff Century argues, and

   the Court agrees, that the facts establish that decedents were

   actually “employees” at the time of the incident.

          The Court will consider ten factors to determine whether a

   party is an independent contractor or an employee.          These factors

   are as follows:

          (a) the extent of control which, by the agreement, the
          master may exercise over the details of the work;

          (b) whether or not the one employed is engaged in a
          distinct occupation or business;

          (c) the kind of occupation, with reference to whether, in
          the locality, the work is usually done under the
          direction of the employer or by a specialist without
          supervision;

          (d) the skill required in the particular occupation;

          (e) whether the employer or the workman supplies the
          instrumentalities, tools, and the place of work for the
          person doing the work;

          (f) the length of time for which the person is employed;

          (g) the method of payment, whether by the time or by the
          job;

          (h) whether the work is part of the regular business of
          the employer;

          (i) whether or not the parties believe they are creating
          the relation of master and servant; and

          (j) whether the principal is or is not in business.


   Tower Ins. Co. v. Rainbow Granite & Marble, Inc., 2010 WL 3604998,

   at *3 (S.D. Fla. Sept. 13, 2010) (citing Cantor v. Cochran, 184

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   So.2d 173 (Fla. 1996)).         Further, the first factor, the extent of

   control the employer exerts over the individual, is the most

   significant.     Id. at *4.        Thus in Cantor, the court found the

   following facts important: the employer practically controlled the

   worker’s work day; the worker was paid by the hour; his services

   did not require a special skill; and his services were an integral

   part of the employer’s business.            Id., at * 4-5.    Thus, that court

   found that the worker was an employee of the business and any

   injuries he sustained while working for the business were properly

   excluded from the insurance policy.

         Here,    the     State    Complaints     and   the     underlying   facts

   demonstrate that the decedents were employees of Defendant Port

   Five Star at the time of the shooting.               It is undisputed by all

   Parties that father and son Ahmad Abuznaid and Jihad Abuznaid, who

   owned Port Five Star, trained the decedents, decided their hours,

   and controlled their work.         Further, the decedents’ work involved

   running the store and the gas station; they did not conduct any

   business outside of the store’s business.            Finally, they worked as

   many as sixty hours per week at the Port Five Star, and they were

   paid a salary.         Thus, considering all of the factors outlined

   above,   the   Court    finds   that   the    decedents    were   employees   of

   Defendant Port Five Star.        Tower Ins. Co., 2010 WL 3604998, at *3;

   Cantor v. Cochran, 184 So.2d at 174-75.                Further, because the

   Action Over Exclusion excludes bodily injury to “an employee”

   arising “in the course of employment by the named insured” or while


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   “performing duties related to the conduct of the named insured’s

   business,” this provision also operates to bar coverage.

                                  IV. Conclusion

         Therefore, the Court finds that Plaintiff Century has no duty

   to defend or indemnify Defendants in the state court actions

   referenced   above.     The    Court   further    notes   that   its   finding

   regarding either the effect of either the Assault and Battery

   Exclusion or the Action Over Exclusion would have been sufficient

   to reach this determination. Accordingly, the Court will grant the

   instant Motion (DE 48) and enter judgment in favor of Plaintiff on

   the Complaint (DE 1) filed herein.

         Accordingly, after due consideration, it is

         ORDERED AND ADJUDGED as follows:

         1. Plaintiff Century Surety Company’s Dispositive Motion For

   Summary Judgment (DE 48) be and the same is hereby GRANTED;

         2. Summary Judgment be and the same is hereby ENTERED in favor

   of   Plaintiff    Century     Surety    Company   on   the   Complaint    For

   Declaratory Judgment (DE 1); and

         3. Final Judgment will be entered by separate Order.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

   County, Florida this        11th       day of July, 2013.




                                      WILLIAM J. ZLOCH
                                      United States District Judge

   All Counsel of Record



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